                            UNITED STATES DISTRICT COURT
                            MIDDLE DISTRICT OF TENNESSEE
                                 NASHVILLE DIVISION

UNITED STATES OF AMERICA                           )
                                                   )
v.                                                 )       NO. 3:11-00194
                                                   )       JUDGE CAMPBELL
JERMAINE JACKSON                                   )

                                            ORDER

       Pending before the Court is a Motion to Reconsider Defendant Jermaine Jackson’s Motion

to Withdraw His Guilty Plea Prior to Sentencing (Docket No. 1324). The Court held a hearing on

June 21, 2013. At the hearing, Defendant moved to withdraw the Motion to Reconsider, which the

Court GRANTED.

       The Court will hold a sentencing hearing on September 20, 2013, at 3:00 p.m. Any

supplemental filings regarding sentencing shall be filed by September 16, 2013.

       It is so ORDERED.

                                                   ____________________________________
                                                   TODD J. CAMPBELL
                                                   UNITED STATES DISTRICT JUDGE




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